                       IN TIIEUNITED STATES DISTRICT COURT
                   FOR TIIE EASTERN DISTRICT OF NORTH CAROLINA .
                                 EASTERN Drv;ISION
                                  No. 4:17-CR-31-D


UNITED STATES OF AMERICA                       )
                                               )
                                               )
                   v.                          )                       ORDER
                                               )
RICKY JAY BALL,                                )
                                               )
                           Defendant.          )


       On May 4 and May 18, 2020, Ricky Jay Ball (''Ball" or "defendant'') moved pro se for

compassionate release or home confitiement under the First Step Act ("First Step Act''), Pub. L. No.

115-391, § 603(b), J32 Stat. 5194, 5238-41 (2018)(codifiedasamendedat 18U.S.C. § 3582) [D.E.

53, 54, 55, 56]. On May 2, 2022, the government responded in opposition [D.E. 64]. As explained

below, the court denies Ball's motions for compassionate release.

                                                   I.

       On September 11, 2017, Ball pleaded guilty without a plea agreement to possession of a

firearm and ammunition by a felon (count one), obstruction of justice (counts two and three}, and

altering a military discharge certificate{count four). See [D.E. 31 ]. On December S, 2017, the court

held Ball's sentencing hearing and adopted the facts set forth in the Preseiltence Investigation Report

("PSR"). See Fed. R. Crim. P. 32(i}(3)(A}-{B); PSR [D.E. 37]; [D.E. 44]. The court calculated

Ball's total offense level to be 21, his criminal history category to be V, and his advisory guideline

range to be 70 to 87 months' imprisonment. See PSR ,r 102. After thoroughly considering the
                                                                                     /



arguments of counsel and all relevant factors under 18 U.S.C. § 35S3(a), the court sentenced Ball

to 96 months' concurrent imprisonment on counts one, two, .and three and 12 months' concurrent '·



            Case 4:17-cr-00031-D Document 68 Filed 06/23/22 Page 1 of 8
 imprisonment on count four. See [D.E. 46]. Ball did not appeal.

         On April lZ, 2020, Ball sent a letter to the court invoking section 12003(b)(2) ofthe CARES
                                                                                       (
 Act and seeking release due to COVID-19. See [D.E. S1]. On April 23, 2020, the court construed

 the letter as a motion for release under 18 U.S.C. § 3624(c)(2), as amended by section 12003(b)(2)

 ofthe CARES Act, and denied the motion. See [D.E. S2] ..Jn May 2020, Ball sent two letters to the
                                                                   '
                                                                   \




 court seeking compassionate release or home confinement, which the clerk construed as motions.

 See [D.E. S3, S4, SS, S6]. In June 2020, Ball sent another letter. See [D.E. S8].

                                                     Il.

    ~,   Under 18 U.S.C. § 3S82(c)(i)(A), a court may reduce a defendant's term of imprisonment

 if (1) "extraordinary
                  --
                 ......
                       and compelling reasons warrant such a reduction" or (2) ''the defendant is at

· least 70 years of age,,lias served at least 30 years in p~son," and the Director of the Bureau of
                          ;


 Prisons ("BOP") has determined the defendant is not a danger to another person or the community.

 18 U.S.C. § 3S82(c)(l)(A); see United States v. Hargrove, 30 F.4th 189, 194 (4th Cir. 2022); United
                                                                       I


                          '
 States v. High, 997 F.3d 181, 18S-86 (4th Cir. 2021); United States v. Kibble, 992 F.3d 326,330

 (4th Cir.) (per curiam), cert. deni~ 142 S. Ct. 383 (2021); United States v. McCoy, 981 F.3d 271, ,

 27S-77 (4th Cir. 2020). A section 3S82(c){l)(A) sentence reduction must comport with the 18
                          '
                          I



 U.S.C. § 3SS3(a) factors and applicable Sentencing Commission policy statements. See 18 U.S.C.

 § 3S82(c)(l)(A); Hargrove, 30 F.4th at 194.

         Before filing a motion under 18 U.S.C. § 3S82(c)(l)(A), a defendant must '~yexhaustO

 all 'dministrative       righ~ to ap~eal a failure of the Bureau of i>nsons to bring a motion on the
 de:fendant's bebalt.'or the lapse of 30 days from the receipt of such a request by the warden of the

 defendant's facility, whichever is earlier." 18 U.S.C. § 3S82(c)(l)(A). This requirement is

 nonjurisdictional, and the government waives a defense based on section 3S82(c)(l)(A)'s timing



             Case 4:17-cr-00031-D Document 68 Filed 06/23/22 Page 2 of 8
                               J


requirements if the government does not timely raise it See United States v. Muhammad, 16 F.4th

126, 129--30 (4th-------Cir. 2021).

         Wh.enconsi~ering a defendant's compassionate release motion, the court determines whether

extraordinary and ~mpelling circumstances exist and whether, in the court'~ discretion, those,

circumstances warrant relief in,,light of relevant factors in 18· U.S.C. § 3553(a) and applicable

Sentencing Commission policy statements. See Hargrove, 30 F.4th at 194-95; High, 997 F.3d at              r
                                           ,r

186; Kibble, 992 F._3d at 330-32. In evaluating the section 3553(a) factors, the court considers, inter

alia, the nature and:circumstances of the offense, the history and characteristics of the defendant, a

defendant's post-sentencing conduct, the need to deter criminal behavior, the need to promote

respect for the law, and the need to protect the public. See 18 U.S.C. § 3553(a); Chavez-Meza v.
                       ~.              I                                                            i

United States, 138'S. Ct. 1959, 1966--68 (2018); Pcmper v. United States, 562 U.S. 476, 480-81
                                   '                '       '                                   '
'                      ,



(2011); High, 997 F.3d at 186; Kibble, 992 F.3d at 331-32; United States v. McDonald, 986 F.3d
                       I




402, 412 (4th Cir. 2021); United States v. Mm, 916 F.3d 389, 398 (4th Cir. 2019). Although a

court considers a defendant's post-sentencing conduct, rehabilitation alone is not an extraordinary

and compelling reason. See 28 U.S.C. § 994(t); U.S.S.G. § 1B1.13, cmt. n.3; McCoy. 981 F.3d at

286 n.9.

        No Sentencing.
                 r-
                       Commission policy statement currently applies to a defendant's
                   '   I

compassionate_rel~ase
                  .
                      motion. See Hargrove, 30 F.4th at 194; High. 997' F.3d at 186; Kibble, 992
                                                .




F.3dat 330-31; McCoy. 981 F.3d at 281-82. U.S.S.G. § 1B1.13 is a policy statement that applies
                       !
to compassionate release motions filed by the BOP Director. Nonetheless, section lB 1.13 ''remains

helpful guidance even when motions are filed by defendants." McCoy. 981 F.3d at 282 n. 7; see

Hargrove, 30F.4that 194. Application Note 1 ofU.S.S.G. § 1B1.13 lists several extraordinary and

compelling circumstances, including (A) a defendant's serious medical condition, (B) a defendant's

                                                        3

               Case 4:17-cr-00031-D Document 68 Filed 06/23/22 Page 3 of 8
     ~e, when coupled with serious physical or mental deterioration due to age and having served 10
'    '
     years or 75 percent of his or her sentence, (C) certain family circumstances in which a defendant's

     minor children or incapacitated spouse or registtred partner would otherwise have no caregiver, or

     (D) any other extraordinary and compelling reason. U.S.S.G. § lBl.13, cmt. n.l(A). '"[A]n
                             '
     extraordinary and compelling reason need not have been unforeseen at the time of sentencing in

     order to warrant a"· sentence reduction. Id. § lB 1.13, cmt. n.2.
                  _/
             On April 13, 2020, Ball applied to his warden for compassionate release, and his warden

     denied the request. See [D.E. 53] 1; [D.E. 55] 1; [D.E. 64] 4. The government agre«rs ·that Ball

     satisfied section 3582(c)(l)(A)'sthreshold timing requirements. See [D.E. 64] 4; cf. Muhammad,

      16 F.4th at 130. Accordingly, the court considers Ball's motions on the merits.

          , In support ofhis motions for compassionate release, Ball cites theCOVID-19 pandemic, the
                         '
     need to assist his n;i.other, his rehabilitation efforts, and ·his release plan. See [D.E. 53, 54, 55, 56,

     58]. As for the COVID-19 pand~c, Ball has not cited any health.conditions that place him at a

    · heightened risk ofinfection. Cf. [D.E. 64] 5~ 19. Moreover, Ball is fully vaccinated against COVID-

     19 and has bad and·recovered from COVID-19, thereby obtaining natural antibodies:· See [D.E. 64]

     5, 19--21; [D.E. 65] 112-13; Garrett v. Murphy, 17 F.4th 419,433 & n. 7 (3d Cir. 2021). Receiving.

     the COVID-19 vaccine greatly diminishes Ball's risk ofserious infection fromCOVID-19. See, e.g.•

     United States v. Jacques, No. 20-3276, 2022 WL 894695, at •2 (2d Cir. Mar. 28, 2022)

     (unpublished);Uni~Statesv.
                    '
                                Scale~No.21-2631,2022
                                   .
                                                      WL 795425,at•t (3dCir.Mar.15,2022)
                         ,

     (unpublished) ("[V]accination does not rule out reinfection, but tbfs does not diminish that

     vaccination mitiga~s the risk of COVID-19
                                            ,
                                               complications ...."); United States v. Shettler, No. 21-

     10484, 2022 WL 6~0311, at •4 (11th Cir. Mar. 3, 2022) (percuriam) (unp\lblished); United States
                    -
     v. Lemons, 15 F.4th 747, 751 (6th Cir. 2021) ("[W]ith access to ~e vaccine, an inmate largely faces

                                                         4

                  Case 4:17-cr-00031-D Document 68 Filed 06/23/22 Page 4 of 8
the same risk from :COVID-19 as those who are,not incarcerated."); United States v. Haig, 8 F.4th

 932, 936 n.2 (10th ~ir. 2021), cert. deni~ 2022 WL 1611819 (U.S. May 23, 2022); United States

 v. Broadfielg, 5 F.4th 801,803 (7th Cir. 2021); United States v. Baeza-Vargas, 532 F. Supp. 3d 840,

 843-46 (D. Ariz. 2021) (collecting cases showing the "growing consensus" of district courts that

 have ruled that an inmate receiving a COVID-19 vaccine ''weighs against a finding of extraordinary

 and compelling circumstances''); cf. United States v. Petway. No. 21-6488, 2022-WL 168577, at *2

 (4th Cir. Jan. 19, 2022) (per curiam)(unpublished). Accordingly, the ~eneral risk COVID-19 poses

to Ball is not an extraordinary and compelling reason for compassionate release. See 18 U.S.C._ §

 3582(c)(l)(A). _

        Ball argue~ the need to care for his mother is an extraordinary and compelling reason

justifying CQmpassionate release. See [D.E. 53] 1; [D.E. 54] 2; [D.E. 55] 1; [D.E. 56] 2. Ball's
                     f

mother has stage 3( kidney failure, and Ball argues she could use ~s assistance. See [D.E. 53] 1;

, [D.E. 54] 2; [D.E. 55] 1; [D.E. 56] 2. Under the ''family circumstances" policy statement,

 extraordinary and compelling circumstances may 'exist because of "(i) [t]he death or incapacitation

 ofthe caregiver ofthe defendant's minor child or minor children" or "(ii) [t]he incapacitation ofthe

 defendant's spousi or registered partner when the defendant would be, the only available caregiver

 for the spouse orre~steredpartner." U.S.S.G. § lBl:13 cmt. n.l(C). By its plain terms, the policy

 statement does not.apply to family circumstances involving a defendant's parents. Moreover, Ball

 does not argue he i~ his mother's only available caregiver. Thus, Ball's family situation does not fall

within the ''family circumstances" policy statement Nonethele~s, the court considers Ball's family
                 /

 circ~ces under the "other reasons" policy statement.

        The court ~sumes without deciding that COVID-19, Ball's family circumstances, his

 rehabilitation effo~, and his release plan constitute extraordinary and compelling reasons under the

                                                   5

              Case 4:17-cr-00031-D Document 68 Filed 06/23/22 Page 5 of 8
           J
"otherreasons"policystatementandsection3582(c)(l)(A). Cf. UnitedStatesv.Rai~954F.3d594,
                                                                              (   ,



597 (3d Cir. 2020) ("[T]he mere existence of COVID-19 in society and the possibility that it may
                    ,                               '
spread to a particular prison alone cannot independently justify compassionate release, especially

considering BOP's'. statutory role, and its extensive and professional efforts to curtail the virus's

spread."). However, the section 3553(a) factors counsel against reducing Ball's sen~. See
                        I
Hargrove, 30 F.4th at 194-95, 19S-200; High. 997 F.3d at 186; Kibble, 992 F.3d at 331-32.
                                                                                                          /
         .Ball is 44 years old and is incarcerated for possession of a firearm and ammunition by a
                                                                         ,I

felon, two counts of obstruction ofjustice, and altering a military discharge certificate. See PSR ,r,r
                    !                       '            I


1-5. While on a two-year federal probationary sentence, Ball falsely claimed to work for the North

Carolina State Bureau of Investigation. See id. ,r 8. As part of the charade, Ball wore a badge,

carried a handgun, and possessed blue lights. See id. ,r,r 9-11. Ball also possessed an M4 rifle. See

id. ,r 9. Eventually, J3all was charged with violating the terms ofhis probation. During his probation

revocation hearing~ Ball submitted a fraudulent discharge document to the court. See id. ,r 18. The
                                                                                                              I

fraudulent document stated Ball received a medical discharge from the U.S. Marine Corps when he
     '                              \
actually received an involun~ discharge "due to fraudulent entry from his pre-service criminal

record." Id. Ball's serious criminal behavior was nothing new. Before incurring the convictions

for which he is currently incarcerated, B_all had convictions for soliciting embezzlement,· obtaining

property by false pr~e (three counts), employment security law violations (four counts), breaking ,
                    I
and entering (two counts), larceny, larceny after breaking,and entering, possession of a firearm by
                    '
a felon (two co~ts), possession of stolen goods (two counts), using a red or blue light,

impersonating a law enforcement officer (two counts), common law forgery, and possession offalse
                    '
identification. Seejd. ,r,r 28-43. Ball has a poor record on supervision, including engaging in new

criminal conduct vvhile on supervision.. See id.. ,r,f 29, 33, 36, 43.

                                                    6

               Case 4:17-cr-00031-D Document 68 Filed 06/23/22 Page 6 of 8
               Ball has taken some positive steps while federally incarcerated. For example, Ball argues

     he has completed "over 900 class time hours and completed the 12 hour drug~education" course.

     [D.E. 55] 1. Ball states he has taug!i.t "over 11 classes including the RE-Entry class and the CDL

     class."   ~    Ball also states he has ''become a facilitator'' of the North Carolina Alternative to

     Violence Program and is a "senior mentor for the Each One Reach One Mentorship Program." Id.

     Ball contends he has had ''no disciplinary write ups ever." Id. However, since filing his motions, he

     incurred an infraction
                         .
                            for possessing a hazardous tool-a
                                                         ,    cell phone. See [D.E. 64] 23; [D.E. 64-1 ].

     The disciplinary report remarks state: "Inmate denied the charge, stating he did not know anything
                                         I
                            .                                      \
     about the false wall: or cellph?ne." Id. The court views the possession of a cell phone in custody as

     serious miscondµct. Cf. United States v. Melton, 761 F. App'x 171, 172-78 (4th Cir. 2019) (per
                        .                                                                         \
                            (




     curiam) (unpublished).         ,1

                            '
               The court must balance Ball's mixed performance
                                                        .
                                                               in federal custody with.his serious criminal

     conduct, his terrible criminal history, his poor performance on supervision, the need to punish him,
                                                      \



     the need to promote respect for the law, the need to protect society, and the need to deter others. Cf.

     Pep_per, 562 U.S. at 480--81; High. 997 F.3d at 187-91; McDonald, 986 F.3d at 412; Martin, 916
                            .                .

     F.3~ at 398. The court also has considered Ball's potential exposure to COVID-19, his family
                    (

     circumstances, and his release plan. See [D.E. 53, 54, 55, 56]. Having considered the entire record,
                            •                    C'       \




     the extensive steps ~tth~ BOP has taken to address COVID-19, the section 3553(a) factors, Ball's
J

    · arguments, the gov~ent' s persuasive response, the need to punish Ball for his serious criminal

     behavior, to incap~itate Ball, to promote respect for the law, to deter others, and to protect society~

     the court denies Ball's motions for compassionate release. See, e.g., Chavez-Meza, 138 S. Ct. at

     1966--68; Hargrove, 30 F.4th at 198-200; High. 997 F.3d at 187-91; Kibble, 992 F.3d at 331-32.


                                                                                                 \
                                                              7

                   Case 4:17-cr-00031-D Document 68 Filed 06/23/22 Page 7 of 8
        As for Ball's requests for home confinement, the court dismisses them. The CARES Act-

 does not provide t:J:us court with the authority to grant home confinement. See United States v.
                     '
 Simon, No. 20-6701, 2022 WL 337126, at *1 ,(4th Cir. Feb. 4, 2022) (per curiam.) (unpublished);
                    '                                                            '
 United States v. Saunders, 986 F.3d 1076, 1078 (7th Cir. 2021); United States v. Brummett, No.

 20-5626, 2020 WL:5525871, at *2 (6th Cir. Aug. 19,2020) (unpublished) ("[T]he authority to grant

 home confinement remains solely with the Attorney Genera). and .the BOP."). To the extent Ball

 requests that the court merely recommend home confinement to the BOP, the court declines. Thus,

 the court dismisses Ball's requests for home confinement.

                                               m.
                    '
        In sum, the court DENIES defendant's motions· for compassionate release [D.E. 53, 54, 55,

. 56] and DISMISS~S his requests for home confinement.

        SO ORDERED. This ~3 day of June, 2022.



                                                        £trns~.'o~~m
                                                        United States District Judge




            j




                                                8

                Case 4:17-cr-00031-D Document 68 Filed 06/23/22 Page 8 of 8
